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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Criminal Case No. 22-cr-00012-WJM

  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

       1. LAWRENCE RUDOLPH and
       2. LORI MILLIRON,

            Defendants.



            GOVERNMENT’S STATEMENT OF FACTS RELATED TO SENTENCING



       I.        A jury finds Rudolph guilty of murder and fraud and Milliron guilty of accessory
                 to murder, obstruction, and perjury.

            1.      Lawrence Rudolph shot his wife through the heart with a semiautomatic Browning

  Auto-5 shotgun in the early morning hours of October 11, 2016, at a remote campsite on the banks

  of the Kafue river in Zambia. To make the death look like an accident, he fired the shotgun while

  it was still enclosed in a soft carrying case. When he returned to the United States he falsely

  represented that his wife shot herself while packing the shotgun so that he could fraudulently obtain

  $4.8 million in life insurance from seven different insurance companies. On October 31, 2016,

  Lori Milliron flew to Phoenix from Pittsburgh on a one-way ticket. From that time on, the two

  lived openly together at Rudolph’s residences in Arizona, Idaho, and Cabo San Lucas, Mexico. A

  jury unanimously found him guilty beyond a reasonable doubt of foreign murder (18 U.S.C.

  § 1119) and mail fraud (18 U.S.C. § 1341).

            2.      Lori Milliron met Lawrence Rudolph in 2004 or 2005. She was a dental hygienist


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  at a practice called The Dentistry, where Rudolph worked as a dentist. The two engaged in a

  decade-plus extramarital affair that lasted until Bianca’s death. After leaving The Dentistry, she

  worked in various executive and administrative roles at a practice called Three Rivers Dental

  Group, which was owned by Rudolph. During the affair, Rudolph paid Milliron tens of thousands

  of dollars in cash, showered her and her children with gifts, paid rent on increasingly nice

  residences in Pittsburgh, financed luxury domestic and international travel, and purchased a home

  for the two of them in Cabo San Lucas, Mexico. As set forth below, there is substantial evidence

  that Milliron knew about, and encouraged, Rudolph’s plan to murder his wife. She was notified of

  Bianca’s death before Rudolph’s children or any other relatives. During an argument in February

  or March 2020, Rudolph told Milliron “I killed my fucking wife for you.” And yet, when

  summoned before the grand jury, Milliron falsely characterized the reasons Rudolph was giving

  her so much money, lied about Rudolph’s conversations with her regarding Bianca’s death, and

  otherwise provided deliberately false and misleading testimony in an effort to help Rudolph get

  away with murder. The jury unanimously found her guilty of accessory-after-the-fact to murder

  (18 U.S.C. § 3), obstruction of a grand jury (18 U.S.C. § 1503), and two counts of perjury 18

  U.S.C. § 1623(a)). The jury acquitted her of three other counts of perjury.

     II.        During their marriage, the Rudolphs were avid hunters.

           3.      Lawrence Rudolph met Bianca when he was in dental school and she was an

  undergraduate at the University of Pittsburgh. They were married in 1982. Rudolph started a dental

  practice at approximately the same time. Bianca initially worked in the dental office, but later had

  less involvement in the practice after the couple had two children. After becoming disabled in

  2006, Rudolph separated from his partners and started a new group of dental offices known as

  Three Rivers Dental, which remained in operation at all times relevant to these proceedings.



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            4.      Rudolph and Bianca often spent time traveling and hunting. As time went by these

  trips became more frequent, with hunting trips to Africa and other countries being common for

  them. Prior to meeting Rudolph, Bianca did not have hunting experience. As her relationship with

  Rudolph developed over the years, she began hunting with him and she became a well-respected

  international hunter. During their marriage, the Rudolphs were both active members of a prominent

  hunting organization. At times Bianca would travel and hunt without Rudolph present.

            5.      The Rudolphs had successfully pursued and killed some of the most dangerous

  animals in some of the world’s most dangerous and inaccessible places. Witnesses at trial

  described Bianca as comfortable with firearms, familiar with all of the rules of hunter’s safety, and

  a good shot. Witnesses described Rudolph as an expert. In fact, one professional hunter was so

  comfortable with Rudolph’s skill that he allowed Rudolph to accompany a group of hunters on the

  extremely risky task of tracking a wounded leopard.

            6.      About four years before Bianca’s death, the Rudolphs moved from Pennsylvania to

  Arizona. Rudolph traveled back and forth between Pennsylvania and Arizona to attend to his

  business at Three Rivers Dental Group. See Gov’t Exhibit 501. Moving to Arizona isolated Bianca

  from her friends and gave Rudolph a way to be in Pittsburgh, where Milliron lived, without Bianca

  knowing about it.

     III.        Rudolph conceals his ongoing affair with Lori Milliron while providing her a
                 lavish lifestyle.

            7.      Between 2014 and 2016, Rudolph’s financial support for Milliron increased

  substantially. He paid her $20,050 cash in 2014, $60,320 cash in 2015, and $75,450 cash in 2016.

  These cash payments were on top of electronic salary deposits of, respectively, $38,500 in 2014,

  $73,500 in 2015, and $69,500 in 2016. See Gov’t Exhibits 500 and 503. Rudolph delivered the

  cash to Milliron in a variety of ways, sometimes handing it to her and at other times authorizing


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  her to take it directly from safes located at the dental practices. Paying Milliron in cash allowed

  Rudolph to keep his financial support for Milliron secret from Bianca and from anyone else who

  might look at bank statements.

          8.      Lawrence Rudolph also provided financial support to Milliron’s children. Milliron

  would express frustration, in the presence of her son and his girlfriend, that Rudolph would not

  divorce Bianca, who Milliron called a stupid ugly Italian bitch. On the day of her grandson’s

  baptism, Milliron and Rudolph got into an argument over Rudolph’s refusal to divorce Bianca.

          9.      By 2010, the relationship between Lawrence Rudolph and Lori Milliron had grown

  into one where the two expressed their deep affection and love for another. See Gov’t Exhibit 90.

  In one email sent on July 8, 2010, Rudolph wrote to Milliron: “I can’t wait I want love affection

  romance and attention bb bb.” Id. at 2. On July 31, 2010, Milliron wrote an email that ended “LOL

  LOVE YOU BABY.” Id.at 4. Email exchanges like that continued into 2011 and 2012, with the

  two expressing their love, desire to vacation together, and updates on Rudolph’s efforts to help

  Milliron’s children get into schools and find jobs.

          10.     In an April 2011 exchange, Milliron expressed jealousy that Rudolph was on a trip

  with his wife, Bianca. Rudolph told Milliron that he was flying to Ghana with another well-known

  hunter to do a “wildlife film.” Id. at 80. But Milliron later read on an internet blog that Rudolph

  was there with Bianca. When Milliron confronted him about it, Rudolph lied and said his wife had

  been left in Brussels. Id. at 83.

          11.     Milliron expressed jealousy in another exchange in November that year. A Three

  Rivers Dental employee accidentally responded in an email to Milliron “Luv ya, Charlie.” Id. at

  146. After Milliron asked about it, the employee explained that it was a case of mis-directed

  messages. The employee had received an email from Rudolph at 2 a.m. the prior evening with the



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  statement “luv ya Betty.” The employee explained to Milliron that Betty was a nickname Rudolph

  had for her, that she called Rudolph “Charlie,” and that when she responded “Luv ya, Charlie,”

  she thought she had been responding to Rudolph, not Milliron. Id. at 148. Milliron forwarded these

  emails to Rudolph: “I guess you have nick names for all your girlfriends. Read below.” Id.at 148.

  She then wrote “How can I be ok with this bullshit? You two have pet names for each other? You

  are fucking killing me here. What else can you throw at me?” Id.at 150.

         12.       Rudolph explored buying a Cabo San Lucas condominium in 2011 as a getaway

  for him and Lori Milliron. Id. at 120–26, 130–31; 133.

         13.       Around this same time, Lawrence Rudolph called a friend to ask for advice about

  divorce. Rudolph told the friend — who knew about Rudolph’s extramarital affairs and his efforts

  to hide them from Bianca — that he was thinking about divorce. The friend advised against it,

  telling Rudolph that he would lose half of his money in a divorce at minimum. Rudolph responded

  that he couldn’t live on half of his money. In a follow-up call, Rudolph asked the friend about post-

  nuptial agreements. The friend laughed and expressed doubt that anyone would sign such a thing.

         14.       Lawrence Rudolph served as the president of a prominent hunting organization

  from 2009 to 2011. He later became aware of rumors that he had engaged in extra-marital affairs

  while he was president of that organization. One allegation related to a woman he pursued for such

  a relationship in 2011. Another allegation related to Rudolph’s attendance at an Alaska event with

  Lori Milliron.

         15.       In 2012, Rudolph filed a lawsuit against the hunting organization and several of its

  individual members on the knowingly false and fraudulent pretense that the allegations of an affair

  were defamatory. See Gov’t Exhibit 83. Rudolph knew that the allegations were true, but he filed

  the lawsuit and proceeded to lie repeatedly to deceive the court and his legal adversaries to advance



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  his personal interests.

           16.      As part of the lawsuit’s civil discovery, Rudolph received interrogatories. See Gov’t

  Exhibit 84. In response to a question asking him to identify anyone who would have information

  about his allegations of adultery, he fraudulently omitted Lori Milliron. Id. at 1-6. In response to a

  later question asking for email addresses used to communicate information regarding allegations

  at issue in the lawsuit, he fraudulently omitted the email address he had used to exchange emails

  expressing his love for Lori Millron. Id. at 9-1; Gov’t Exhibit 90. When asked specifically to

  identify email addresses used to communicate with Lori Milliron between 2006 and the time of

  the interrogatories in 2013, Rudolph lied and stated he “did not communicate with Lori Milliron

  via email account or other web-based communications.” Gov’t Exhibit 84 at 18; Gov’t Exhibit 90.

     IV.         Rudolph commits fraud to pay for his life with Lori.

           17.      Back in October 2006, Lawrence Rudolph went to the Chinyembe hunting camp

  to hunt water buffalo. The trip was scheduled for ten to twelve days. At the time, a buffalo hunt

  cost between $10,000 and $15,000 for the hunt, not including the substantial costs of travelling

  to Zambia and Chinyembe’s difficult-to-access hunting grounds.

           18.      The first several days of the hunt were odd. Despite the hunt’s cost, Rudolph

  didn’t seem interested in hunting. He simply sat in camp drinking wine and smoking marijuana

  with the local camp workers. The professional hunter kept pushing Rudolph to hunt. He even

  called his boss to express frustration that Rudolph wasn’t hunting. (During the hunting season,

  the camp workers partially rely on meat from the hunts for food.)

           19.      Several days into the scheduled hunt, the professional hunter convinced Rudolph

  to go hunting. Because it was Zambian Independence Day (October 24), the professional hunter

  wanted to provide fresh meat for the holiday celebration. But after Rudolph shot a non-trophy


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  animal for the camp staff to eat, the professional hunter and Rudolph returned to camp where

  Rudolph returned to drinking.

         20.     One night in the middle of the ten-day hunt, the professional hunter and Rudolph

  were sitting around the campfire when the hunter finally convinced Rudolph to hunt for his

  trophy buffalo the next morning. But Rudolph did not prepare for a hunt. Instead, Rudolph

  continued drinking and began talking obsessively about crocodiles. The hunter shined a

  flashlight in the Kafue River running by below to illuminate the eyes of several crocs. When

  Rudolph kept going on and on about the crocodiles, the hunter told him to avoid the area

  downstream from the camp’s skinning shed where the camp staff clean and prepare the game

  animals killed during the season by the camp’s guests. He informed Rudolph that a large number

  of crocodiles gather there. Rudolph continued drinking heavily that night and smoking marijuana

  with the workers.

         21.     When the camp attendant went to wake Rudolph for the hunt in the four o’clock

  hour the next morning, Rudolph refused to get up because he was hungover from the night

  before. Frustrated, the professional hunter decided to do maintenance on his vehicle, which was

  parked down by the skinning shed on the opposite end of camp from the guest area.

         22.     When the hunter returned to the main part of the camp a few hours later, the camp

  staff told him that Rudolph had recently walked straight out of camp through the main gate, in

  the opposite direction of the river with a fishing pole and a rifle. The hunter was panicked. He

  had told Rudolph not to leave the camp without him. Rudolph was his responsibility, and there

  were dangerous animals in the area. Indeed, Rudolph knew from prior visits to the camp that he

  was not supposed to leave the camp without a professional hunter.




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         23.     The hunter sent a scout and a tracker downstream to search for Rudolph. But the

  hunter went upstream with another tracker. He was confident that Rudolph wouldn’t be fishing

  downstream given their discussions about crocodiles and the skinning shed the night before.

  Because he had been told that Rudolph had just left camp, he did not expect him to be far away.

  He walked about a mile when he heard a single gunshot. Downstream.

         24.     The hunter rushed back to camp where he found Rudolph calmly bandaging his

  left hand. Rudolph was “quite relaxed.” He told the hunter that he had gone fishing alone. When

  he caught a fish, he had reached down to “lip” it — sticking his thumb in the fish’s mouth to get

  it out of the river — when a crocodile grabbed the fish and his hand, pulling him into the water.

  According to Rudolph, the crocodile released him before biting his calf and pulling him back

  into the water. But he had kicked the crocodile and was able to escape before firing his rifle to

  signal for help.

         25.     Rudolph’s jeans were a bit wet, but he was not soaked, was not muddy, and was

  not even very dirty. The rip in his jeans looked like it had been cut horizontally and then pulled

  down to create a hanging flap. The jean damage didn’t seem to correspond with the various

  marks on Rudolph’s leg, which looked like small cuts made by a pocketknife jammed into the

  leg rather than a crocodile bite. There didn’t appear to be blood associated with the marks on the

  leg.

         26.     The hunter used a satellite phone to medevac Rudolph out of camp. Rudolph had

  a specific hospital in South Africa where he wanted to be flown instead of the nearest large

  hospital in Lusaka. But the medevac pilot requested proof of medical necessity, so the hunter

  asked Rudolph to let him take photographs of the injuries. Rudolph refused and said no photos




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  were necessary. By then, he had wrapped his index finger in thick gauze, preventing any

  examination of it.

           27.      After the hunter explained that the pilot would not fly without proof of injury,

  Rudolph eventually relented. The hunter took two photographs of the injury to Rudolph’s thumb,

  after Rudolph had already rinsed the wound with hydrogen peroxide.

           28.      In a deposition about the incident several years later, Rudolph said that the

  crocodile not only pulled him into the water, but rolled him over. When periodically asked about

  his ability to function by the insurance companies in the years after the attack, Rudolph noted

  relatively sedentary hobbies and fraudulently omitted any reference to the fact that he was still

  engaged in dangerous sport-hunting requiring considerable dexterity and physical prowess.

           29.      The defendant profited from financial fraud at his dental practices. The practice

  encouraged root canals that were unnecessary, failed to provide fillings so that patients would

  need more lucrative root canals, manipulated x-ray images to support unnecessary procedures,

  and drilled unnecessary holes in teeth in order to stimulate more serious procedures that would

  bill at higher rates.

      V.         Bianca uncovers Rudolph’s affair with Milliron and confronts him about it a few
                 months before he kills her.

           30.      Travel records show that Lori Milliron spent almost 80% of her time in Pittsburgh

  in 2015 and 2016. Rudolph flew to Pittsburgh for his business during that time period, where the

  two could spend time together. Milliron got to go on a couple of domestic vacations with

  Rudolph during those two years, and a few relatively short trips to Cabo San Lucas, Mexico. See

  Gov’t Exhibit 501. In March 2016, Bianca flew to Pittsburgh to visit her daughter. Rudolph

  stayed in Phoenix and was joined, for the very first time, by Milliron. Id. at 17. The two stayed

  together in the Rudolphs’ mansion. See Gov’t Exhibit 95. Then they flew together to Pittsburgh,

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  while Bianca flew by herself to the Rudolphs’ residence in Victor, Idaho, just outside of Jackson

  Hole, Wyoming. Bianca’s return to Phoenix on April 12, 2016, was her first day at the marital

  home following Milliron’s trip there. See Gov’t Exhibit 501.

         31.     Two weeks later, the Rudolphs signed a trust document creating plans for the

  disposition of their wealth in the event one or both were to die. The trust put restrictions on their

  wealth should one of them remarry. Bianca also signed a will indicating her desire to be

  cremated. See Gov’t Exhibit 56; Gov’t Exhibit 93.

         32.     Bianca met with a friend at a shopping center between Tempe and Paradise

  Valley, Arizona in Spring 2016, after Milliron’s secret visit. The friend also served as a personal

  assistant to Lawrence and Bianca Rudolph. Bianca told the friend that something was on her

  mind and then fought back tears as she told her what it was: Bianca had found a hairclip in her

  bed that did not belong to her. Bianca asked the friend if she thought Rudolph was having an

  affair. The friend, who had been tasked with helping Rudolph with his emails, knew about

  Rudolph’s exchanges with Milliron. The friend told Bianca that Rudolph was cheating on her. At

  that point, Bianca broke down into sobs. Bianca told the friend that she did not believe in divorce

  and that she wanted to do everything she could to save the marriage. Bianca was afraid that any

  divorce would result in Rudolph taking all of the money and leaving her destitute. She confided

  to the friend that Rudolph had forged her signature on a document purporting to deny her money

  in the event of a divorce. Bianca said that Rudolph forged her signature on many documents and

  was good at it. Despite her personal objection to divorce and the practical risks involved, Bianca

  said she was considering a divorce.

         33.     As the conversation with the friend continued, Bianca came to the conclusion that

  she would confront Rudolph with the fact that she knew of his affair. Bianca and the friend role-



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  played how the confrontation would go and Bianca decided that she would demand that Rudolph

  stop seeing Milliron, fire her from the practice and try marriage counseling. If Rudolph refused,

  Bianca resolved to threaten a divorce.

         34.     The friend told Bianca that Rudolph and Milliron emailed one another about their

  affair. Bianca was later able to gain access to Lawrence Rudolph’s email account, where she

  printed out several. See Gov’t Exhibit 90. Bianca later gave the emails to the friend for safe

  keeping.

         35.     In a later phone call, Bianca told the friend that she had confronted Rudolph.

  Rudolph initially denied the affair. Bianca told Rudolph that she’d seen the emails and Rudolph

  finally admitted it. Bianca told the friend that she’d told Rudolph to end the affair and fire

  Milliron and that Rudolph had agreed.

         36.     But Rudolph did not end the affair. Instead, he deceived his wife by making it

  look like he was doing what Bianca wanted, while continuing the relationship with Milliron. He

  instructed staff at Three Rivers Dental Group to tell anyone who called about Milliron to deny

  that she was there. When Bianca’s friend called a Three Rivers Dental Group office and asked

  about Milliron, the employee was reluctant to say that Milliron was still with the company, but

  eventually told the friend that she was still employed. Later, at an in-person meeting, the friend

  asked Bianca how things were going. The friend told Bianca that Rudolph was not following

  through on his stated intent to fire Milliron. Bianca said she knew that: Rudolph had told her

  that Milliron was working from home and that he couldn’t fire her right away because he had

  made her a business partner.

         37.     Meanwhile, Rudolph practiced that same deception in his lawsuit with the hunting

  organization, which remained ongoing. On May 17, 2016, he submitted to a deposition under



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  oath as part of the lawsuit’s discovery process. See Gov’t Exhibit 80. He then violated that oath

  by claiming that Lori Milliron attended the Alaska event with him “in a capacity as a medical

  aide to me” while otherwise endeavoring to represent that she was not his lover and that he was

  not engaged in extramarital affairs. Id.

         38.     Rudolph and Milliron continued their affair after Bianca’s ultimatum. On July 6,

  the two flew to Cabo San Lucas while Bianca was at the house in Victor. See Gov’t Exhibit 501.

  The day before that flight, Lori Milliron ordered a box of propofol using the controlled substance

  registration for Rudolph’s dental practice. See Gov’t Exhibit 57. Propofol is a powerful

  anesthesia drug used to sedate patients for medical procedures. Too much is fatal. Rudolph was

  not an anesthesiologist, had no reason to use propofol, and was not trained to administer it. This

  was the first and only time that Rudolph’s controlled substance license had been used to order

  propofol.

         39.     On August 3, Lori Milliron was deposed as part of Rudolph’s ongoing civil

  defamation suit. She took an oath to tell the truth and then proceeded to brazenly lie so that she

  could distance herself from Rudolph and otherwise help him win his lawsuit:

                 a.      She testified under oath that she was currently living in Houston. This was

  not true. She had flown to Houston the night before from Pittsburgh. She flew back to Pittsburgh,

  where she really resided, on August 7. See Gov’t Exhibit 501.

                 b.      She testified under oath that she was unemployed. In fact, she was

  working for Rudolph at Three Rivers Dental group, where she received salary payments into an

  account she shared with her daughter. Later in the deposition, she was asked why she was no

  longer employed. She falsely responded “I retired” and put the time of her retirement in “late

  2010, early 2011.”



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                    c.     Asked under oath “do you remain in contact with Dr. Rudolph as of

  today,” she answered “I don’t.” When the questioner asked “what is the last time you spoke with

  Dr. Rudolph,” she said that he had called just to inform her of the deposition. In fact, she had

  been on vacation with Rudolph in Cabo San Lucas just a few weeks prior, between July 6 and

  July 11, and that the two had been in Pittsburgh together in the last week of July.

                    d.     Milliron also repeated, under oath, that she attended the 2009 event with

  Rudolph as his medical aide. This was not true. She was there as his mistress. Asked whether she

  was in a romantic relationship with anyone at that 2009 event, she answered “I’m not sure. I

  dated people.” In fact, she was in a relationship with Lawrence Rudolph and had been in that

  relationship for several years.

                    e.     When asked under oath “have you ever had a sexual relationship with Dr.

  Rudolph,” Milliron lied: “No, I have not.”

                    f.     When asked under oath “has Dr. Rudolph ever suggested to you that he

  would like to have a sexual relationship,” Milliron lied: “No, he did not.”

                    g.     When asked under oath “Did you ever suggest to Dr. Rudolph that you

  would like to have a sexual relationship with him,” Milliron lied: “No, I have not.”

                    h.     When asked under oath, “do you have any knowledge that Dr. Rudolph

  had a sexual relationship with anyone outside of Bianca Rudolph,” Milliron lied: “No, I’m not

  aware of that.”

                    i.     When asked under oath “have you exchanged any emails with Dr.

  Rudolph since your separation of employment from Three Rivers Dentistry,” Milliron lied: “No,

  I don’t believe so.”

         40.        On August 10, Rudolph and Bianca flew to Zambia for a hunt in the Luangwa



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  Valley with a family that included two professional hunters, who were father and son. The

  respective families had developed a friendship with the Rudolphs over the course of many hunts

  in Africa. The father and son had led hunts throughout Southern Africa. Rudolph was hunting a

  lion. If time permitted, the plan was for Bianca to hunt a leopard. Time did not permit the

  leopard hunt, so at the end of the trip the Rudolphs booked a follow-up leopard hunt to take place

  in October near the border of Kafue National Park. See Gov’t Exhibits 142 at 11; 501; 607.

         41.     Throughout the marriage, Rudolph was his family’s primary source of income. He

  controlled the dental businesses that generated the income and, excepting accounts for Bianca’s

  retirement or a small inheritance from her family, was the sole signatory on their financial

  accounts. See Gov’t Exhibits 610-618. He exercised almost complete control over the finances.

  This was a source of anxiety for Bianca, who confided to close friends that she did not know

  where the couple’s money was located and that she worried about not having any financial

  independence. See Gov’t Exhibits 610-618. On September 12— just one week before the couple

  left on the trip that would end in Bianca’s death — Rudolph finally allowed Bianca to be a co-

  signatory on one of their main investment accounts at Morgan Stanley. See Gov’t Exhibit 611.

         42.     About a month before Bianca’s death, Milliron called an expanded functions

  dental assistant (“EFDA”) at Three Rivers Dental Group, to give specific instructions about the

  propofol she had ordered for Rudolph. This was the first and only time Milliron had given such

  instructions. Milliron told the EFDA that a package of propofol was coming, that the EFDA

  should be sure to get the package, and that the EFDA should put it in a back room for Rudolph to

  pick up. The package arrived and, not long after, so did Rudolph. He asked the EFDA if she had

  a package for him. She said yes and led him to the back room, where she gave him the propofol.

  Rudolph told her that he needed it in case there was an accident on an upcoming hunting trip.



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           43.      Milliron and Rudolph spent a weekend in Houston together between September

  16 and September 19. See Gov’t Exhibit 501. On September 27, Rudolph and Bianca got on a

  plane to begin their journey to a hunting camp at Chinyembe on the banks of the Kafue River

  just outside of Kafue National Park. Id.; Gov’t Exhibit 142 at 11. They took a .375 Remington

  rifle and a Browning A5 Semi-automatic twelve-gauge shotgun with them. See Gov’t Exhibit 23.

  The hunt was scheduled to end on October 11so that Bianca could fly back with Rudolph to

  attend her nephew’s wedding. Bianca told friends and family she was excited for that event,

  which would give her the opportunity to connect with her family. She also planned to host

  relatives from Italy at the family home after the wedding and following their trip to see the

  Grand Canyon.

     VI.         Rudolph murders his wife.

           44.      The Rudolphs flew from Phoenix, through Atlanta, on to Johannesburg, South

  Africa, and then to Lusaka, Zambia. See Gov’t Exhibit 142. From there, they drove to the remote

  campsite at Chinyembe. That camp is approximately 80 miles from the nearest police station or

  medical clinic in the town of Mumbwa, which is itself a relatively small town about 80 miles

  from Lusaka. The 80-mile trip between Mumbwa and Chinyembe is only partially paved.

  Twenty of those miles require driving along a tumbling four-wheel drive jeep track that winds

  through lion country, over several muddy streams and past swarms of tsetse flies. See Gov’t

  Exhibit 9.

           45.      Upon arrival in camp, Mark and Pieter welcomed the Rudolphs and performed

  their usual pre-hunt weapon tests. They test-fired both the shotgun and the rifle to make sure they

  were working properly. Mark and Pieter found no problems with the shotgun, which worked as

  designed and produced the desired soft-ball sized shot pattern at about 10 yards. See Gov’t



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  Exhibit 30. During the tests, the group discovered that the shotgun still had the restrictor-plug in

  the magazine. That plug, standard in American shotguns, is used to limit the capacity of the

  magazine during duck hunts so that a hunter does not have more ammunition than allowed in

  most jurisdictions. Removing the plug allowed the shotgun to hold its full capacity of 5 shotgun

  shells: four in the under-barrel magazine and one the chamber. When not in use, the shotgun

  was stored in a soft fabric case manufactured by the Allen Company.

         46.     Bianca was the hunter during this trip. She carried the Remington rifle and did the

  shooting, while Rudolph carried the shotgun to protect the group. The father and son professional

  hungers had recommended a shotgun in case the group was charged by an injured leopard.

  During a hunt the year prior, Bianca had injured a leopard. While tracking it, the group had been

  charged and the younger professional hunter had used a shotgun to put the leopard down before

  it could attack them.

         47.     The hunting party rose early each morning for breakfast and started hunting

  around 7:00 each day. The firearms, unloaded and in their soft cases, were placed in racks on the

  back of the hunting jeeps by room attendants. The party would drive around the area looking for

  bait animals. When found, the party would get out, load the firearms, and hunt the bait animals.

  Typically, the firearms would then be unloaded and placed back in their cases to drive to the

  blind, where the loading process would be repeated. Bianca killed several animals on the hunt to

  use as bait for the leopard. On leopard hunts in Zambia, the group uses the bait to attract a

  leopard into a tree and then waits in a blind to kill the leopard if it takes the bait. The party would

  usually be in the blind by 3:30 or 4:00 in the afternoon to wait for a leopard. Rudolph, using the

  shotgun, loaded and unloaded it many times over the course of the hunt.

         48.     By the morning of October 10 — the last hunting day — Bianca had still not



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  bagged a leopard. That afternoon she, a professional hunter, and Rudolph sat in the blind. For

  this last night, they were allowed to stay out just past sunset. Eventually, the game scouts drove

  to the blind to pick up Bianca, Mark, and Rudolph. Rudolph unloaded the shotgun onto the seat

  of the jeep and handed it to the professional hunter’s apprentice, who put it into the soft case

  sitting on the gun rack and zipped it up. When the group returned to camp, attendants picked up

  the firearms from the back of the jeep and put them in the Rudolphs’ hunting chalet. Rudolph

  encouraged Bianca to stay for more hunting, but Bianca refused because she wanted to attend her

  nephew’s wedding.

          49.      Lawrence Rudolph murdered his wife the next morning, at around 5:30 a.m. on

  October 11, 2016 — the last opportunity to do so while they were still in remote Zambia

  surrounded by his friends and retainers. While the two were packing to leave, he partially unzipped

  the shotgun case, put one round in the chamber, pointed the shotgun at Bianca’s chest, and pulled

  the trigger. The shotgun blast, from approximately 1 to 3 feet away, entered Bianca’s chest at a

  slightly downward angle, macerating her heart and killing her within minutes. When the

  professional hunter and a local game scout arrived, they found Rudolph, distraught, next to his

  wife. See Gov’t Exhibits 2, 14, 15, 16, 17, 35.

          50.      The professional hunter and the game scout told Rudolph that he had to report the

  death to the police. They covered Bianca with a blanket and drove to the police station in

  Mumbwa. Rudolph told the professional hunter that the death was an accident. He claimed that

  he was in the bathroom while Bianca was packing the shotgun, that he heard a shot, and that

  when he ran out of the bathroom he found Bianca on the ground with a wound in her chest.

  Because the shotgun case was a tight fit for the shotgun, he speculated that Bianca may have

  tried to jam it in.



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         51.    Rudolph gave a formal statement to investigators with the Zambian Police Service

  at the station in Mumbwa. The investigators wrote his statement down and he then signed and

  adopted it. The statement repeated his claim of the shot firing while he was in the bathroom and

  his wife was packing the guns:

         I am the husband to the deceased [UI] Bianca Theresa Rudolph. I recall were [sp where]
         my wife and I went to Mangomba Safari Camp in Kafue National Park on 30/09/2016 for
         safari hunting. We both have been there all along until when we concluded on
         10/10/2016 around 1845 hrs and we were departed back home today 11/10/2016. This
         morning around 0430 hrs we started packing our belongings and I went to bath while my
         wife [UI] [UI] packing. We had in our possession two firearms, a rife (Remington 375)
         and a shotgun (Browning 12 Gauge). I suddenly heard a gun shot and when I went out of
         the bathroom, I found my wife lying on the floor in the bedroom. The bullet penetrated
         through the chest and I suspect the firearm must have been left loaded from the previous
         days activities and this happened while she was trying to pack the firearms in their
         appropriate pouches. I immediately informed [. . .] the Head waiter and Mr [professional
         hunter] over what transpired. I tried to resuscitate her but it was in vein [sic] until the
         matter was reported

  Gov’t Exhibit 18.

         52.    Outside the police statement, Rudolph also spoke to a senior investigator from

  Zambia’s Office of Parks and Wildlife. According to the investigator, Rudolph said he had been

  taking a shower when he heard the shot.

         53.    After making the statement, Rudolph, the professional hunter and the game scout

  returned to Chinyembe. Zambian Police Service investigators took photographs of the scene,

  observed Bianca’s body, and then declared the death to be an accident. Gov’t Exhibits 14, 15, 34.

  During their investigation, they removed jewelry from Bianca’s body and gave it to Rudolph.

  Bianca’s body was then transported to Mumbwa. Because of the circumstances of the death, the

  Zambian authorities sought and obtained an order to have Bianca’s body autopsied by a

  pathologist. The autopsy was scheduled for the next day at University Teaching Hospital in

  Lusaka. See Gov’t Exhibits 26, 34, 37.

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     VII.      Rudolph tries to obstruct any investigation of the murder in Zambia.

         54.      In Mumbwa, at around 4:30 p.m., Rudolph called the United States embassy to

  report his wife’s death. Almost immediately, he told the consular chief that he wanted his wife to

  be cremated. The consular chief told him that Ambassador St. Anne’s Funeral Home had the

  only western-style crematorium in Zambia. See Rudolph Exhibit RA10.

         55.      Rudolph did not make arrangements for Bianca’s body to be brought to

  Ambassador St. Anne’s. Instead, he approached the branch manager at FSG Ideal Funeral Home

  and made arrangements there. Rudolph told the manager that his wife had died in an accident

  while trying to pack a gun. Rudolph explained that he did not want his wife to be subjected to an

  autopsy and asked how it could be prevented. The manager told him that it was not possible

  because Zambian law required an autopsy when a death occurs in questionable circumstances. At

  that point, Rudolph offered the manager a cash bribe to enlist the manager’s help in getting the

  autopsy called off. The manager refused.

         56.      Bianca’s autopsy took place at University Teaching Hospital, as planned. The

  Zambian pathologist determined that the cause of death was (1) hemorrhagic shock, (2)

  macerated left side of heart and perforated lung and (3) gunshot injury. See Gov’t Exhiibit 35. In

  testimony at trial, the Zambian pathologist told the jury that Zambian forensic pathologists,

  trained in the British system, are usually not asked about manner of death. He further testified

  that, in this case, the Zambian police told him that they had already determined the manner of

  death to be an accident before his examination. He testified that, based on his experience and

  training, the wound in Bianca’s chest was caused by a shotgun that was about 1 meter (3.2 feet)

  away. He further testified that the wound path was almost directly front to back.

         57.      Rudolph had additional conversations with the consular official on October 12,



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  2016, where he again asked about the most expedient way to have Bianca cremated. The

  consular official asked if Rudolph wanted help notifying next of kin in the United States.

  Rudolph declined, saying that he wanted to notify his children himself. See Rudolph Exhibit

  RA10.

          58.    After the autopsy, the Zambian authorities issued a Coroner’s Authority for

  Burial, which made it possible for Rudolph to make formal arrangements for the cremation.

  Bianca’s body was transported to FSG Ideal Funeral Home, where it was maintained until he

  could schedule a cremation at Ambassador St. Anne’s. See Gov’t Exhibit 22.

          59.    The consular official — who needed to confirm Bianca’s identity and obtain

  official Zambian death documents before he could issue a Certified Report of Death of an

  American Abroad — called Ambassador St. Anne’s on October 13, 2016. He was caught off

  guard when he found out that Rudolph had, instead, made arrangements to have Bianca’s body

  kept at FSG Ideal. The Consular Official was then informed by staff at FSG Ideal Funeral Home

  that Bianca was going to be cremated the next day. See Rudolph Exhibit RA10.

          60.    Alarmed at how fast things were proceeding and concerned that he would not be

  able to identify Bianca before her cremation, the consular official made arrangements to travel to

  FSG Ideal Funeral home so that he could personally observe the body and compare it to Bianca’s

  passport photograph. He was joined by two federal law enforcement officers from the State

  Department’s Diplomatic Security Service. At FSG Ideal Funeral home, the consular official was

  able to confirm Bianca’s identity. One of the agents took photographs of Bianca’s body and the

  wound. See Gov’t Exhibit 17; Rudolph Exhibit RA10.

          61.    When he returned to the embassy, the consular chief received what he described

  as a “one-way” telephone call from Rudolph, who was loud, direct and harsh, expressing anger



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  over the fact that embassy officials had taken photographs. Rudolph demanded that the

  photographs be destroyed or deleted. Rudolph personalized the interactions between the two of

  them, making sure the consular official knew that he had done research on the official’s

  background and career in a way calculated to intimidate and inspire fear. See Rudolph Exhibit

  RA10.

          62.    Rudolph met with the consular official just before Bianca’s scheduled cremation

  on October 14, 2016. Because of the prior day’s exchange, the consular official did not feel safe

  being with Rudolph alone. He was escorted there by a security agent. But Rudolph was calm at

  this meeting and the two met privately for about a half hour discussing the relevant paperwork

  and next steps. See Rudolph Exhibit RA10.

          63.    The consular official again asked if Rudolph wanted any help notifying his

  children or other relatives about Bianca’s death. Rudolph again declined. At trial, Rudolph told

  the jury that he did not want the embassy to notify his children because he wanted to do it in

  person. He said, under oath, that he wanted to “hold them and hug them and grieve with them.”

  But he had no intention of personally telling his children about their mother’s death. On October

  13, he booked a return ticket to Phoenix, which was thousands of miles away from Pennsylvania

  or Florida, where his children resided. See Gov’t Exhibits 316; 501; 607.

          64.    The consular official asked what had happened to Bianca. At trial, he testified that

  Rudolph was cryptic. Rudolph intimated that the death may not have been an accident and that

  there were other issues.

          65.    The consular official asked about the shotgun that had caused the death. Rudolph

  described it generally as an “antique” and claimed he didn’t know what type it was.

          66.    Rudolph expressed deep concerns for his privacy and was adamant that no



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  information about the death be disclosed. He asked about the Freedom of Information Act and

  the Privacy Act, making it clear that he did not want anyone to be able to get information about

  his wife’s death.

         67.     The Zambian Police Service returned the shotgun to Lawrence Rudolph on

  October 14, after having it examined by a forensic ballistics expert. See Gov’t Exhibits 10, 28.

  The expert, in a report with the subject heading “Suicide” had determined that the working

  mechanism of the shotgun was “perfect” and that its cocking and firing mechanism were in

  “good condition.” See Gov’t Exhibit 10. Rudolph had previously discussed with the professional

  hunter a plan to leave the shotgun with the professional hunter in Zambia. But Zambian law

  would not permit the transfer and Rudolph was forced to bring the murder weapon with him to

  the United States.

         68.     Bianca’s body was cremated later that day at Ambassador St. Anne’s. See Gov’t

  Exhibit 142 at 23; 152 at 27. Rudolph then met with the consular official again. See Rudolph

  Exhibit RA10. Rudolph declined invitations to enter the embassy and met with the official

  outside the grounds. There, the official gave him the Certified Report of Death and many

  supporting documents, including a report from the Zambian Police describing the death as an

  accident, the report from the office of the state forensic pathologist, and the forensic ballistics

  report. Gov’t Exhibits 31 – 40.

         69.     The day of the cremation, Rudolph sent an email to Bianca’s brother falsely

  implying that Bianca was still alive but that the two of them had extended their Africa trip and

  would miss the wedding. See Gov’t Exhibit 43. While he did not notify his children or any of

  Bianca’s close family, he did decide to tell one person about the death: his mistress, Lori

  Milliron. He texted her that there had been an accident. When asked at trial if Milliron had



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  responded to the text to ask if he was okay or ask about what had happened, he said no.

     VIII. After Bianca’s funeral, Milliron moves in with Rudolph.

         70.     Rudolph departed Lusaka on October 15 and landed in Phoenix, Arizona, on

  Monday, October 17. See Gov’t Exhibit 501, 607. Later that same day, Rudolph’s son called the

  U.S. Embassy in Lusaka, distraught, asking whether his mom was really dead.

         71.     Bianca Rudolph’s life was the subject of nine life insurance policies issued by

  seven different companies. On the morning of October 19— only the second full day he had

  been back in the United States — Rudolph emailed a trust and estates attorney: “who, in your

  opinion is the very best counsel to manage life insurance claims?” The lawyer responded that she

  didn’t understand how there was a problem that required an attorney. See Gov’t Exhibit 55.

  Rudolph eventually retained an attorney to submit life insurance claims instead of using the

  insurance broker who had sold him many of the policies.

         72.     Bianca’s funeral was scheduled for October 22. See Gov’t Exhibit 152 at 28.

  Several witnesses described it as a small and rushed affair that occurred on short notice without a

  full Catholic mass or any of the formalities or other features they would have expected at her

  service.

         73.     After the funeral, Rudolph spoke to Bianca’s brother and a cousin. They asked for

  more information about the circumstances of Bianca’s death. Rudolph promised he would tell

  them anything they wanted to know. He then lied to distance himself from the death, telling them

  that he was outside the cabin when he heard the shot.

         74.     The day after the funeral, Rudolph booked a ticket for Milliron to fly from

  Pittsburgh the next day. See Gov’t Exhibit 315, But a short time later, he cancelled that ticket

  and, instead, booked a ticket for another woman to join him on a trip to Las Vegas between



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  October 26 and October 28. See Gov’t Exhibits 315-320. In his direct examination, Rudolph

  omitted any reference to this companion and instead tried to leave the false impression that he

  was in Las Vegas taking walks and going to the bar by himself.

           75.      On October 24, Rudolph booked a one-way ticket for Milliron to fly from

  Pittsburgh to join him in Phoenix on Halloween 2016. See Gov’t Exhibit 320. The two spent all

  of November together in Phoenix, the house in Victor, and in Pittsburgh. See Gov’t Exhibit 501.

  After some time apart during the December holidays, Milliron began to live openly with

  Rudolph in Arizona. See Gov’t Exhibits 74; 501.

     IX.         Rudolph defrauds life insurance companies by lying about the cause of Bianca’s
                 death.

           76.      By November 14, 2016, Rudolph had submitted claims to all the life insurance

  companies to collect on the policies listed below. He received payments on those policies

  between January and March 2017 that added up to $4,877.744.93. The payments were made into

  an account held in the name of the trust Rudolph and Bianca had created in April 2016. Upon

  Bianca’s passing, Rudolph assumed total control over that trust. See Gov’t Exhibits 93; 175 300-

  303; 305-312; 504.

           77.      In each claim, he falsely represented that Bianca’s death was the result of an

  accident and fraudulently withheld reports that may have raised questions, like the forensic

  ballistics report with the heading “suicide” and the description of the shotgun’s working

  mechanism as “perfect.” See Gov’t Exhibits 10; 36; 100; 101; 110-113; 130-131; 140-142; 150-

  152; 160-162; 170-175. A representative from each of the companies testified that their decision-

  making would have been different if they had received information that Bianca’s death was the

  result of murder.




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   Company                       Policy                Approx     Approx.          Amount Paid
                                                       Claim Date Paid Date
   Metlife Insurance             Policy No. 215        11/07/16   03/06/17         $772,901.17
   Company USA                   150 755 UT
   Fidelity Life Association     Policy No.            10/31/16     02/27/17       $100,973.41
                                 0100382288

   AAA Life Insurance            Policy GT8107         11/07/16     02/03/17       $200,000.00
   Company                       Certificate
                                 4019648262
   Transamerica Life             Policy 42728878       11/07/16     03/07/17       $503,438.85
   Insurance Company
   Transamerica Life             Policy 42186233       11/07/16     03/07/17       $500,840.86
   Insurance Company
   Great-West Life &             Policy 104 TLP        11/07/16     03/16/17       1,000,157.54
   Annuity Insurance
   Company                       Certificate
                                 105665

   Genworth Life and             Policy 1308458        11/07/16     01/09/17       $44,533.88
   Annuity Insurance
   Company (Formerly First
   Colony)
   Ameritas                      Policy                11/14/16     03/09/17       $1,003,049.90
                                 T00017578A


   Ameritas                      Policy                11/14/16     03/09/17       $751,849.32
                                 U00013758A
   TOTAL                                                                           $4,877,744.93


  Gov’t Exhibit 504

        78.      Rudolph sent correspondence and documents representing Bianca’s death as an

  accident via the United States Postal Service and commercial interstate carriers, like Federal

  Express. See Gov’t Exhibits 100; 101; 110-113; 130-131; 140-142; 150-152; 160-162; 170-175

  The correspondence to Great West Life & Annuity Insurance Company was sent to an address in

  Colorado. See Gov’t Exhibits 170-175.




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        79.      The jewelry that Bianca was wearing when she died was insured. See Gov’t

  Exhibit 180. Rudolph knew this and took action to profit from her death even more by filing a

  claim for that jewelry with the insurer on November 22, 2016. Rudolph falsely claimed that the

  jewelry had been lost despite the fact that he had taken possession of it in the cabin where she

  died. The insurance company sent Rudolph a check for $15,044.00, which he deposited. See

  Gov’t Exhibits 313-314.

         80.     Rudolph made active efforts to avoid any questioning about his wife’s death.

                 a.      When a private investigator hired by the insurance companies called to ask

  about his wife’s death, Rudolph picked up the phone. But when the investigator identified

  herself, he hung up immediately and let a subsequent call go to voicemail.

                 b.      When Bianca’s brother followed up on Rudolph’s promise to tell him

  anything he wanted to know with an email asking for documents related to the death, Rudolph

  refused to provide them. Instead, he delayed responding directly to the request for several

  months and then offered to show them only via FaceTime out of a stated concern that the brother

  might make them public. See Gov’t Exhibit 44.

                 c.      In April 2017, a Special Agent from the FBI called Rudolph, who picked

  up the phone. The agent asked if Rudolph was willing to come in to talk about his wife’s death.

  Rudolph immediately became belligerent, sarcastically asking “why would I want to do that?”

  He declined to come in and did not follow through on a promise to send in some of the

  underlying documents related to Bianca’s death.

         81.     Rudolph also sought to curry favor with witnesses who might have information

  that could be used against him. On December 12, 2016, two days after he was contacted by the




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  private investigator, he signed documents committing to a $20,000 loan to the professional

  hunter for a business. See Gov’t Exhibits 624; 647.

          82.      Rudolph used the life insurance proceeds to help finance a luxury lifestyle for

  himself and Milliron.

                   a.     He used some of the life insurance proceeds to finance a custom-built

  home. In June, he emailed a photograph of Milliron picking out a possible lot for the house to the

  head of the neighborhood homeowner’s association. See Gov’t Exhibit 643. The two did not pick

  that lot. Instead, on August 30, 2017, he sent $1.1 million from the trust account as a down

  payment for a home in a different community next door. A few weeks before that, he had sent $3

  million to a separate bank account, which he then used as collateral for a $2.5 million

  construction loan.

                   b.     In March 2018, he wrote a $125,000 check from the trust account as the

  down payment on a 2018 Aston-Martin DB-11.

                   c.     In January 2021, he used some of that $3 million originally from the trust

  account to purchase a condominium for him and Milliron in Cabo San Lucas, Mexico.

                   d.     In April 2021, he transferred money to one of his other companies and

  then wrote a $162,390.88 check from that company’s account towards the purchase of a Bentley

  Bentayga.

     X.         Rudolph’s Outburst at a Restaurant in Arizona

          83.      Rudolph and Milliron were regulars at a high-end steakhouse in Phoenix. See

  Gov’t Exhibit 60. They were well-known to the staff. Indeed, a bartender saw them there so

  frequently that he mistakenly assumed they were married. In February or March of 2020, that

  bartender saw the two enter the back bar. While the two were having drinks the bartender noticed



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  that they were having an uncomfortable conversation. Then, during a break in the background

  music, the bartender heard Rudolph exclaim, “I killed my fucking wife for you.”

              84.      Six months later, on August 9, 2020, the FBI approached Rudolph’s son for an

  interview. Shortly after they were contacted by Rudolph’s attorney.

              85.      Later that month, knowing that the FBI was investigating Bianca’s death,

  Rudolph blurted out to the EFDA from whom he had previously collected the propofol that he

  was probably going to jail.

              86.      A year later, FBI agents tried to interview Milliron while Rudolph was outside of

  the country. Although she recognized that they were likely from the FBI, she refused to answer

  the door and, instead, booked an impromptu ticket to Phoenix. See Gov’t Exhibit 71.

        XI.         Rudolph’s Arrest in December 2021

              87.      On December 16, 2021, the government filed a criminal complaint, supported by

  an affidavit alleging that Rudolph had committed mail fraud. ECF No.1. Five days later, he and

  Milliron flew together to Cabo San Lucas. Upon arrival, Rudolph was taken into custody by

  Mexican immigration authorities. The next day, the government filed a superseding criminal

  complaint supported by an affidavit alleging that he had committed both mail fraud and foreign

  murder. ECF No. 4. Rudolph was brought to Colorado by Mexican immigration authorities and

  arrested by FBI agents later that same day when he arrived at Denver International Airport. After

  an initial appearance on December 23, a detention hearing was set for January 4, 2022. ECF Nos.

  7-8.

              88.      On December 27, 2021, Lori Milliron returned to the United States from Mexico.

  She was served with a subpoena to testify before the grand jury on January 5. See Gov’t Exhibit

  80.



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         89.     The detention hearing on January 4, featured detailed testimony about the crime,

  Rudolph’s history of threatening behavior, and Milliron’s role as a motivating factor for the

  murder. ECF No. 37. Milliron, who was introduced as Rudolph’s “significant other,” observed

  the entire proceeding and heard the evidence the government intended to present to show that

  Rudolph had committed murder. The following information and facts were presented at the

  hearing through interview recordings and agent testimony:

                 a.      Rudolph has a violent temper. A former employee described a meeting

  where the defendant screamed and insulted the gathered group while stabbing a pen at the wall;

  as he left, he ripped an exit sign from the ceiling causing sparks to fly from the exposed wiring.

  Another former employee, with whom he also had an affair, told agents that while she never saw

  Rudolph use physical violence she saw him yell, scream, pound his fists, and smash property. A

  third former employee described Rudolph as being the sort of up and down person who could

  snap in a minute. She saw Rudolph throw things and punch a wall. A fourth employee reported

  similar behavior: Rudolph came to the practice, screamed at people, and would say “I’ll burn this

  place to the God damn ground.” These former employees collectively described a defendant who

  used his power to keep others terrified.

                 b.      On at least two occasions, Rudolph’s impulsive anger gave way to more

  deliberative action. The employee who relayed Rudolph’s outburst about burning the place down

  also told the FBI that, in the summer of 2015, Rudolph offered him a “generous commission” of

  approximately $25,000 to have someone do a “job” — to kill someone for him. Another witness

  — the ex-wife of the professional hunter who led the hunt in Zambia — told the FBI that

  Rudolph asked her husband to find a “Nigerian guy” who could go to the United States to scare

  an unknown person who was also involved in a hunting group. This same witness expressed fear



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  that Rudolph would retaliate against her. Later, the FBI interviewed one of Rudolph’s former

  dentist colleagues. This dentist told the FBI that Rudolph told him “I’m going to hire a Nigerian

  to put a fucking bullet in your head” after he refused to comply with Rudolph’s request to put

  false information in a dental record.

                  c.     Rudolph had access to vast wealth, self-disclosing assets of approximately

  $27 million. ECF No. 39.

                  d.     Milliron had been having a romantic relationship with Rudolph since the

  early aughts and he was supporting Milliron and her children financially while fueling a luxury

  vacation lifestyle with a condo in Cabo, cars, and other expensive items. Further testimony

  showed that Rudolph was giving Milliron tens of thousands of dollars in cash, siphoning the

  money out of the dental business.

         90.      The magistrate judge hearing the testimony found clear and convincing evidence

  that Rudolph’s past history of threats and temper, as well as the nature of the alleged crime,

  made him a danger to the community. ECF Nos. 22, 23,37, The findings were upheld on appeal

  to the district court. ECF No. 48.

     XII.      Milliron’s False Statements to the Grand Jury

         91.      On January 5, 2022, Milliron appeared before the grand jury and took an oath to

  tell the truth. See Gov’t Exhibits 71 – 73. The petit jury in this case specifically found that she

  violated that oath and committed two distinct acts of perjury:

                  a.     Milliron testified as follows:

                         Q:      Why was Larry paying you this additional money if you
                                 already had a salary for those things?

                         A:      Because he wanted to help me.

                         Q:      Did he explain why?

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                         A:     He was very generous.

                                ....

                         Q:     So in 2015 you received approximately double your salary
                                — or your salary again but all in cash?

                         A:     Yes

                         Q:     And in 2016 you received a little bit more than your salary
                                in cash?

                         A:     Yes.

                         Q:     Why was Larry so generous to you?

                         A:     I don’t know why. But like I said, he would give other —
                                staff members, he would buy them washers and dryers. He
                                would give them cash if they needed it, a whole variety of
                                things.

                         Q:     So your testimony before the members of the Grand Jury
                                today is that you don’t know exactly why he gave you
                                $60,000 in 2015?

                         A:     I don’t know exactly why.

         The jury concluded beyond a reasonable doubt that the underlined statements were

  knowingly false. Rudolph himself testified at trial that he gave her the money because she was

  his girlfriend. See Gov’t Exhibit 71.

                 b.      Milliron was asked questions about her conversations with Rudolph once

  the two of them found out that Rudolph was the subject of an active FBI investigation:

                         Q:     Did he say anything about the merits of an investigation?

                         A:     I don’t recall.

                         Q:     Did he say anything about whether it was an accident?

                         A:     No. He had told me previously it was an accident.
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                                ....

                          Q:    Did he proclaim his innocence?

                          A:    He probably did. I don’t really recall that.

                          Q:    What do you recall?

                          A:    I really don’t recall.

                          Q:    As you sit here today with the members of the Grand Jury, you
                                don’t recall a conversation with Mr. Rudolph about an FBI
                                investigation?

                          A:    There has been a conversation about that, but I think he was
                                aggravated. I can’t give you specifics.

                          Q:    Can you give me generalities?

                          A:    Irritated that there was an FBI investigation because he felt he was
                                innocent.

  See Gov’t Exhibit 71.

         The jury concluded beyond a reasonable doubt that the underlined statements were

  knowingly false. Milliron knew that Rudolph had committed murder. She had encouraged

  Rudolph to separate from his wife. When Bianca tried to have her fired and pressured Rudolph to

  end his relationship with her, she helped Rudolph obtain a lethal anesthetic drug before the hunts

  in Zambia. See Gov’t Exhibit 57. After Rudolph murdered Bianca, the first person in the United

  States he told about the death was Milliron. Once he returned, the two did what they had desired

  all along: they lived openly together, using Rudolph’s wealth — now augmented with a $5

  million windfall — to finance a luxury lifestyle with vacations around the world, the

  construction of a new home, expensive cars, and meals at high-end restaurants. As set forth

  above, it was at one of those restaurants in February or March 2020 that Rudolph growled “I
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  killed my fucking wife for you,” to score points in an argument with Milliron. All of these events

  transpired before August 2020, when Rudolph was notified by his son that the FBI had

  approached him to ask about the circumstances of his mother’s death.

         92.     Milliron made other false and misleading statements to the grand jury. See Gov’t

  Exhibit 71. When first asked about the nature of her relationship with Rudolph, she testified “we

  were friends.” When asked if they were ever anything more than friends, she again tried to

  mislead by minimizing the relationship, testifying “yes, we traveled mostly.” She also falsely

  testified that she never asked Rudolph to leave Bianca, that she did not go into work with

  Rudolph, that she did not leave work with him frequently, and that she only emailed Rudolph

  “occasionally.” When asked whether she had ever deposited cash from the practice into her

  personal bank account, she testified “I don’t recall ever doing that.” But at trial, Rudolph testified

  that Milliron would take cash from the safes with his permission.

         93.     Based on these false statements, the petit jury concluded beyond a reasonable

  doubt that Milliron endeavored to obstruct the grand jury. It further concluded, beyond a

  reasonable doubt, that she knew Rudolph had committed murder but nevertheless intentionally

  made herself an accessory to it by taking active steps to prevent his prosecution and punishment

  — by doing what she could to try to prevent Rudolph from being indicted.

     XIII. The Trial

         94.     Milliron’s efforts to hinder or prevent Rudolph’s trial or punishment were

  unsuccessful. The Grand Jury returned an indictment charging him with foreign murder and mail

  fraud. ECF No.26. The Grand Jury returned an indictment charging Milliron with accessory-

  after-the-fact, obstruction, and five counts of perjury. ECF No. 53.




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         95.     Lawrence Rudolph testified in his own defense during the trial. Among other

  things, he testified that he disposed of the murder weapon by paying a trash disposal service in

  cash to come to his home and carry it away. He admitted that he had been contacted by the FBI

  before disposing of the murder weapon, but claimed that he did not believe he was actually under

  investigation. Rudolph’s disposal of the murder weapon substantially obstructed the

  investigation and prosecution of the case by preventing its forensic examination, a fact that he

  highlighted throughout the trial in an attempt to convince the jury that the inability to test the

  original shotgun made any forensic reconstruction of the shooting unreliable.

     XIV. Milliron’s Conduct Before and After the Trial

         96.     Before she was indicted in this case, Milliron taunted and tormented the victim’s

  children, calling one of them “mentally challenged,” ridiculing their ability to support

  themselves, and implying that she would use her influence over Rudolph to cut them off

  financially, saying “I have 100% you don’t; I have the money; your [sic] a sucker.”

         97.     After being indicted, she moved items out of her condominium that included the

  urn with Bianca’s ashes. That urn, placed into a cardboard box, was then stuffed into the back of

  a storage locker and made inaccessible. When, after the trial, the victim’s family asked for access

  to the urn she refused to cooperate with them, only later agreeing to provide access to the urn to

  government agents.

         98.     Milliron willfully and intentionally violated the terms of her court order by talking

  to Lawrence Rudolph outside the presence of counsel:

                 a.      Despite the clear conditions of her release, Milliron took a call from

  Lawrence Rudolph on August 6, 2022, and spoke to him for about 8 minutes. Milliron

  complained about Rudolph’s children firing her from the business, locking her out of email



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  accounts, and otherwise limiting her access to Rudolph’s business and financial accounts.

  Milliron referenced a power of attorney for Rudolph held by his son, Julian, and asked Rudolph

  to revoke it. Rudolph encouraged Milliron to flee by referencing others who had escaped to

  either Canada or Mexico to avoid criminal process and telling Milliron directly “you don’t want

  to go inside.” Milliron responded “I can’t do that.”

                 b.      Rudolph called Milliron again later that day for about 15 minutes. Milliron

  again asked Rudolph to reverse Julian’s power of authority and complained that Julian was going

  to throw her out on the street. She admitted to taking money without authorization by paying for

  a rental in Paradise Valley with one of Rudolph’s credit cards. She said that she had visited the

  house under construction in Paradise Valley, Arizona. That house, which is the subject of a

  seizure action in 21-cv-03423, was financed using life insurance proceeds fraudulently procured

  by Rudolph. Rudolph again encouraged Milliron to flee by referencing others he believed had

  successfully fled to foreign countries. During the call, Milliron complained against a trial

  witness, calling her an “evil bitch.”

                 c.      Lori Milliron violated the conditions of her bond by taking a third call

  from Lawrence Rudolph on August 8, 2022. In this call, Milliron accused Rudolph of taking

  away the power of attorney behind her back. Later in the call, Rudolph asked if Milliron was

  receiving disability payments from an insurance company. When she said she was not receiving

  the full amount, Rudolph encouraged her to lie to the insurance company by saying she was his

  Executive Administrator and he was out of the country. At least initially, Milliron said she would

  do it.

                 d.      Lori Milliron committed a fourth violation of her release conditions when

  she took another call from Rudolph that day. Rudolph had previously spoken to his daughter,



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  AnaBianca, about obtaining Bianca’s cremains. On the call, Rudolph asked Milliron about the

  location of the cremains. Milliron told Rudolph that Bianca’s cremains were in a storage locker

  in Scottsdale. Milliron then attempted to extort Rudolph, explaining that she wouldn’t be able to

  get the cremains unless she was able to move into the house in Paradise Valley and repeatedly

  asked Rudolph to give her back his power of attorney and to take action to get her “fucking job

  back.”

                 e.      A fifth violation took place when Milliron took a third call that day from

  Rudolph . Milliron complained about Rudolph’s children changing the locks on the property at

  103 Morningside Drive in Cranberry Township. That property — also financed with

  fraudulently-obtained life insurance proceeds — is also subject to the forfeiture action docketed

  at 21-cv-03423. Milliron continued to ask Rudolph to revoke Julian’s power of attorney.

                 f.      Lori Milliron violated the conditions again when she took yet another call

  from Rudolph on August 10, 2022. On this call, Milliron acknowledged what she had known all

  along: that she should not be talking to Rudolph because it was a violation of the court’s order.

           99.   Milliron had access to a safe in the condominium she shared with Rudolph. That

  safe contained, among other things, $200,000 cash, 80 ounces of gold coins, and jewelry that had

  belonged to Bianca Rudolph. When the Rudolphs’ children looked for these items, they could

  not find them and Milliron refused to provide them. Camera footage shows her taking several

  items out of the still-under-construction custom home that she and Rudolph were financing with

  the proceeds of Rudolph’s insurance fraud.




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